Case 1:19-cv-02399-RDM Document6 Filed 08/12/19 Page 1 of 3

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA mM

Movant David Andrew Christenson Civil Action No. 19-2399

   
     

 

 

Andrew McCabe RECEIVED
Plaintiff, Mall Room _" &
Vv. ;
William Barr, Attorney General, et. al.,
Defendants. i
Angela D. Caesar, Clerk of €
Motion te Inteweneaadsoin “2s Court B ste Cau

Cross filed in: MCCABE v. BARR (1:19-cv-02399) District Court, District of Columbia and STRZOK v. BARR
(1:19-cv-02367) District Court, District of Columbia

Attachments are three pleadings filed and docketed in: Application of The Committee on The Judiciary,
U.S. House Of Representatives, For an Order Authorizing the Release of Certain Grand Jury Materials
(1:19-gj-00048) District Court, District of Columbia

Attachment Z (In upper right-hand corner): Motion to Intervene and Join 22 pages, Motion to
Reconsider 8 pages and Notice of Appeal 11 pages. All pleadings have been filed and docketed with the
DC Circuit Court of Appeals in four of my appeals: Electronic Privacy Information (EPIC) v. Department of
Justice (19-5121) Court of Appeals for the D.C. Circuit, Judicial Watch, Inc. v. United States Department
of Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012)
Court of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, III (19-5057) Court of Appeals for
the D.C. Circuit.

Statement of Fact: Criminals are Stupid. McCabe and Strzok have confirmed that fact by filing
complaints.

David Andrew Christenson has cause, standing and Constitutional Authority to Intervene and Join.

David Andrew Christenson is a victim as are all Americans. Someone has to represent the American
People.

The U.S. House of Representatives, both Democrats and Republicans, do not represent, nor do they
have the best interests of the American People, in this matter.

The overriding precedent is that the American People have a Constitutional Right to this incriminating
information.

The Constitution, First Amendment, last sentence of the First Amendment (“and to petition the
government for a redress of grievances.”), Federal Law, Federal Case Law, Precedent, etc. grant me to
the right to file this pleading and to have it entered into the public court record.

Special Counsel Robert Mueller is poisonous fruit and anything he prosecutes is defective. Robert
Mueller has continually abused his authority throughout his career as a US Prosecutor, FBI Director and
Case 1:19-cv-02399-RDM Document6 Filed 08/12/19 Page 2 of 3

now as Special Counsel. | have provided the court with factual, documented and verifiable proof of
Robert Mueller’s criminal conduct. See Attachments:

Notice 43 — Guilt from his participation in the Genocide of Mankind is killing Special Counsel/FBI Director
Robert Mueller. A form of suicide which is now a life choice. Filed in Electronic Privacy Information
(EPIC) v. Department of Justice (19-5121) Court of Appeals for the D.C. Circuit.

Twelfth Supplemental Petition for Rehearing En Banc - Notice 43 — Guilt from his participation in the
Genocide of Mankind is killing Special Counsel/FBI Director Robert Mueller. A form of suicide which is
now a life choice. Filed in Judicial Watch, Inc. v. United States Department of Justice (19-5091) Court of
Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C.
Circuit, Jerome Corsi v. Robert Mueller, II (19-5057) Court of Appeals for the D.C. Circuit.

Reference the extensive docket created by David Andrew Christenson with the DC Circuit Court of
Appeals in the following four Appeals:

Electronic Privacy Information v. DOJ (19-5121) Court of Appeals for the D.C. Circuit
Jerome Corsi v. Robert Mueller, Iti (19-5057) Court of Appeals for the D.C. Circuit
United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit
Judicial Watch, Inc. v. DOJ (19-5091) Court of Appeals for the D.C. Circuit

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access to Criminal Proceedings, First Amendment and Common Law
guarantee the public’s right of access to criminal judicial proceedings.

Nixon v. Warner Communications: The courts recognize the public’s right to inspect and copy judicial
records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged

prosecutor misconduct. The term is “alleged”. There is no doubt the Federal prosecutors have
committed criminal acts.

Leucadia v. Applied Extrusions Technologies: Access
Belo Broadcasting v. Clark: Access

Globe Newspaper v. Superior: The right of the public to monitor the government by having access.
Richmond Newspaper v. Virginia: Without publicity, all other checks are insufficient.

Valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journalists,
etc. play an indispensable role in gathering and disseminating information to the public.

Landmark Communications v. Virginia: To guard against the miscarriage of justice. To stop prosecutor
misconduct before, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.

Pansy v. Stroudsburg: Third parties have a right to intervene.

In re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef
Industry Antitrust Litigation 589 F.2d 786, 789 Sth Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Carolllo and Ford Motor Bronco 1! MDL
Case 1:19-cv-02399-RDM Document6 Filed 08/12/19 Page 3 of 3

Godspeed

Sincerely,

  

David Andrew Christen
Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

   
  
 
 

with the Clerk of Court and

CERTIFICATE OF
| hereby certify that on August 8'", 2019 | filéd thé foregeir
e-mail and first-class mail.

served the pleadingon all cou of

oe

i Nie

   

David Andrew Christenson
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 1 of 42
Case 1:19-gj-00048-BAH Document7 Filed 07/31/19 Pag¢ 1 of 22 RECEIVED

RECEIVED tachitie

JUL 31 2019

   
  

     

 

UNITED STATES DISTRICT COURT

 

 

CHAMBERS OF Angela D. Cacsan lah oF :
BERYL A HOWELL THE DISTRICT OF COLUMBIA ' arin District Court is Inet of Cale ts
U.S, DISTRICT COURT FOR 2 :
THiovar David Arde Christenson Civ. No. 1:19-gj-00048-BAH
Application Of The Committee On The Judiciary, Chief Judgelaenn: AcHtwatRANTED

U.S. House Of Representatives, For An Order Za, “ip har!
¢

Authorizing The Release of Certain Grand Jury

Materials —. Beryl A. Howell Date 4/3}/: 2/G

Chief Judge
Motion to Intervene and Join United States District Court

David Andrew Christenson has cause, standing and Constitutional Authority to Intervene and Join.

David Andrew Christenson is victim as are all Americans. Someone has to represent the American
People.

The U.S. House of Representatives, both Democrats and Republicans, do not represent, nor do they
have the best interests of the American People, in this matter.

The overriding precedent is that the American People have a Constitutional Right to this incriminating
information.

The Constitution, First Amendment, last sentence of the First Amendment (“and to petition the
government for a redress of grievances.”), Federal Law, Federal Case Law, Precedent, etc. grant me to
the right to file this pleading and to have it entered into the public court record.

Special Counsel Robert Mueller is poisonous fruit and anything he prosecutes is defective. Robert
Mueller has continually abused his authority throughout his career as a US Prosecutor, FB! Director and
now as Special Counsel. | have provided the court with factual, documented and verifiable proof of
Robert Mueller’s criminal conduct. See Attachments:

Notice 43 — Guilt from his participation in the Genocide of Mankind is killing Special Counsel/FBI Director
Robert Mueller. A form of suicide which is now a life choice. Filed in Electronic Privacy Information
(EPIC) v. Department of Justice (19-5121) Court of Appeals for the D.C. Circuit.

Twelfth Supplemental Petition for Rehearing En Banc - Notice 43 — Guilt from his participation in the
Genocide of Mankind is killing Special Counsel/FBI Director Robert Mueller. A form of suicide which is
now a life choice. Filed in Judicial Watch, inc. v. United States Department of Justice (19-5091) Court of
Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C.
Circuit, Jerome Corsi v. Robert Mueller, iI] (19-5057) Court of Appeals for the D.C. Circuit.

Reference the extensive docket created by David Andrew Christenson with the DC Circuit Court of
Appeals in the following four Appeals:

Electranic Privacy Information v. DOJ (19-5121) Court of Appeals for the D.C. Circuit

Jerome Corsi v. Robert Mueller, [It (19-5057) Court of Appeals for the D.C. Circuit
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 2 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 2 of 22

Attachment Z

United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit
Judicial Watch, Inc. v. DOJ (19-5091) Court of Appeals for the D.C. Circuit
Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access to Criminal Proceedings, First Amendment and Common Law
guarantee the public's right of access to criminal judicial proceedings.

Nixon v. Warner Communications: The courts recognize the public’s right to inspect and copy judicial
records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged
prosecutor misconduct. The term is “alleged”. There is no doubt the Federal prosecutors have
committed criminal acts.

Leucadia v. Applied Extrusions Technologies: Access

Belo Broadcasting v. Clark: Access

Globe Newspaper v. Superior: The right of the public to monitor the government by having access.
Richmond Newspaper v. Virginia: Without publicity, all other checks are insufficient.

Valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journalists,
etc. play an indispensable role in gathering and disseminating information to the public.

Landmark Communications v. Virginia: To guard against the miscarriage of justice. To stop prosecutor
misconduct before, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.
Pansy v. Stroudsburg: Third parties have a right to intervene.

in re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef
industry Antitrust Litigation 589 F.2d 786, 789 5th Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Carolllo and Ford Motor Bronco II MDL

 

Godspeed

   

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com

dchristenson6@hotmail.com

 
   
    

| hereby certify that on Jz

served the pi¢ad A ali counghLof-recomt hy e-mail and first-class mail.

 

David Andrew Christenson
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 3 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 3 of 22

ttachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA

    
 
 

\
Case: 19-5121 }
Civ. Action No. 19-8 BW

  

David Andrew Christenson — Appellant (Movant)
v.

Appellee —NA .
(Electronic Privacy Information Center v. United States Department of Justice)

Notice 43 — Guilt from his participation in the Genocide of Mankind is killing Special Counsel/FBI Director
Robert Mueller. A form of suicide which is now a fife choice.

in the beginning Mueller may not have known what he was doing but when his name appeared on my
Non-Domestic Stay Away Order, dated March 15" 2011, he then knew. He always had that nagging
feeling that he was doing something wrong. | was never charged with a crime. Look carefully at the 74
names and email addresses on the Non-Domestic Stay Away Order. Why no Federal Judges? Why my
attorneys and friends?

His testimony before the house was that of a guilty murderer. Mueller realized he was Hitler. He had no
idea t would be so tenacious on behalf of the American People. | sent packages, letters and emails to
him and his staff. | catled several times and left messages.

! will honor my oath until the day that t die.

MUELLER KNOWS THAT TRUMP IS GUILTY. MUELLER KNOWS THAT IF HE PURSUES TRUMP THEN THE

FIRST PARAGRAPH OF MY BOOK, THE UNITED STATES SUPREME COURT AND THE KATRINA VIRUS,
BECOMES A KNOWN REALITY. THE COVERUP STOPS. MUELLER HAS CHOSEN SUICIDE OVER HONOR.

TIME, MATH, TRUMP, ETC. WILL ENSURE THAT THE TRUTH COMES OUT.
Mueller lived a wasted life.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7

By David Andrew Christenson

ISBN 978-0-9846893-8-5 Hardback SCKV

ISBN 978-0-9846893-9-2 EBook SCKV

LCCN 2012933074

Copyright 1-724163643

Persimmon Publishing

Box 9063

Miramar Beach, Florida 32550

An Epic Constitutional Crisis. 1am talking about the political destruction of all three branches
(Executive, judicial and Legislative) of our Federal Government. One hundred and fifty five million
Americans and Canadians may be infected with The Katrina Virus. Did the United States Supreme Court
participate in the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had
knowledge of a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the
|

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 4 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 4 of 22

Attachment Z

knowledge. The real question is: what did the Supreme Court do with the knowledge of The Katrina
Virus and the cover-up?

The Attached are the cover page/pieading for three — Twelfth Supplemental Petitions for Rehearing -
Judicial Watch, Inc. v. United States Department of Justice (19-5091) Court of Appeals for the D.C.
Circuit, United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v.
Robert Mueller, II! (19-5057) Court of Appeals for the D.C. Circuit, Electronic Privacy information (EPIC)
v. Department of Justice (19-5121) Court of Appeals for the D.C. Circuit

  

David Andrew
Box 9063 - Miramar Beach, Florida 32550
504-715-3086 - davidandrewchristenson@gmail.com; - dchristenson6@hotmail.com;

CERTIFICATE OFSERVICE

   
 

y
| hereby certify that on July g ithe foregoing with the Clerk of Court and
ecard by e-mail and first-class mail.

 

David Andrew Christenson
1

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 5 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 5 of 22

Attachment Z

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7
By David Andrew Christenson
ISBN 978-0-9846893-8-5 Hardback SCKV
ISBN 978-0-9846893-9-2 EBook SCKV
LCCN 2012933074
Copyright 1-724163643
Persimmon Publishing
Box 9063
Miramar Beach, Florida 32550

An Epic Constitutional Crisis. | am tafking about the political destruction of all three branches (Executive,
Judicial and Legislative) of our Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the knowledge. The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-

up?

There was no simple way to present this story. | fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstalking FBI Special Agent Steven Rayes on March 15°, 2011. It must be
emphasized that | was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
and | have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
FBI to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
in simplistic terms chemical warfare contaminates were released from DOD and CIA classified facilities.
The United States Military conducted operational missions in violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Government incinerators? Are some of the bodies being kept alive in vegetative states
so that the Federal Government can study the long term effects of the Katrina Virus? (Remember the
Syphilis Studies in Alabama and Guatemala.)

This is a Prelude/Reference Book/Appendix. The end of the story has not been written. Judgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.
ilo 4

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 6 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 6 of 22

Attachment Z

CRIMINAL DISTRICT COURT

~

STATE OF LOUISIANA

VERSUS

PARISH OF ORLEANS 7
thie! @ Cheers Dy) BID Lie

MAG. NOs OS

AKO tn Eno) Cit WRreg REN) -— a+

NON-DOMESTIC STAY AWAY ORDER

NOW INTO COURT comes the State of Louisiana, through the undersigned Assistant
District Attorney for the Parish af Orleans, respectfully moves the Court to issue a Non-Gomestic Stay

Away Order and Notice to Appear. This Order prohibits the defendant Uw A Uevery lh os

date af birth | Ox LV 5b

629 Wr!
ait
fram communicating, directly or Indirectiy, with ated rN Rep tite

ea

ayn bie WN Chace of birth se

__. or the wictun's family.
Additionally, during the pendency of this Stay Away Order the defendant caniot own or posses:

firearm. (f the defendant violates this Stay Away Order or any of its provisions, the defendant may be
ariested, bond may be revoked, a new bond required, and will be held in contempt of court, facing
additional charges. {f the Court requires the defendant to make a personal appearance concerning this
Order, the defendant will da so promptly. if the defendant does not appear, an Order for Arrest will be
issued.

This Stay Away Order remains in effect during the pendency of this case or unless and

until lifted by the Judge and a minute entry indicating any such action.

 

 

IT 1S HEREBY ORDERED that the defendant immediately cease any and all

comnyunication with the victim and the victim’s family during the pendency of this action and abide by

“fig SUL. |

MAGISTRAIE COMIVIISSIONER
a
NEW ORLEANS, LOUISIANA, THIS LS DAY OF Biel ot 20.

ail other terms of this Non-Domestic Stay Away Order.

 

DELENDAN I'S ACIINOWLEDGEMENT OF ORDEN AND TERMS

UPON MY RELEASE from the Orleans Parish Crunisal Sherul’s Office, \ Lhe c Vid, 48 PMG pd
de Ysa! do tiereby agree to the terms of this Non-Domestic Stay Away Order. |

understand that if | fail to abide by the terms of this order, a warrant will be issued for my arrest. | have

vead and understand the above agreement and terms of my release.

bor FENDANS

NEW ORLEANS, LOUISIANA, THIS 7 ¢ ‘O DAY OF __ AMIS Wi 207,
NAME: _
ADDRESS:

CITY, STATE, ZIP:

CELL PHONE: |

DATE OF BIRTH:

 

SOCIAL SECURITY NO.
to |

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 7 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 7 of 22

STATE OF LOUISIANA CRIMINAL DISTRICT COURT
VERSUS: PARISH OF ORLEANS
DAVID CHRISTIAN, MAG. NO.
Aka DAVID CHRISTENSON
ORDER

Attachment Z

IT IS ORDERED that the defendant stay away from the protected persons listed below

until all charges in Uhis matter are concluded by refusal, plea of guilty, trial or dismissal. -

Spcciheally, the defendant is urdered:

 

* NOT to abuse, harass, stulk, follow ur threaten the prolected persuns listed below,

NOT to contact the protected persons personally, electronically, by ploue, in writing,

by ewail, by text message or through » third party or ge within LOU fect of the

protected persons,

* NOY to contact the protected persuus’ families personally, clectronically, by phone, in

writing, by cuail, by (ext message or through a third party, —

* NOT to go to the residence ur household of the protected persons, the protected

persons’ schouls ur the protected persous’ place of employment,

Protected Persous:

Amanda J Ballay
Andrew Chow
Aan Virgadamo
Anna Christman

Archbishop Aymond

Bobbi Bernstein
Brad Chauvin
Brad flumplieys
Brian Fair (USMS)
Daniollo Moore
David Vitter
David W Welker
Dewayne J Homer

Diana Surprenant

Erin Amold
Forrest Christian
Gail Chauvin
Gary Schwabe
Genny May

S

amanda baljayalasd useounts nov
andicw chow(@lacd.usgourts poy
anu_vu padamo@lach.uscourts. pov
usalae

Catholic 2, Catholic |

Main DOJ

brad humpheysqlacu,uscuurts gov

 

dugietic_ imvers{alaed vecuurts poy
david_vilter(Qviller senate gov.
david welkeq@ic. (pi yoy

diana sui prenant(iuiaed.uscourts poy
eu arngldcelach uscoupys gov
gout chauvingilaed uscourts gay

wat _selnwabefald og
geiny inay(diusdoy pov

Page 4 of G
if

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19

Geraldine Williarus

Glenda Hassan
Glenn Williams
Gwen Hunter
Joel Gheesling
Jadon Bigelow
James Crull
James Letten
Jan Mann

Jason Bigetow
Jennifer Rogers
John Clark
Jonathan Zweig
Joseph Downing

Joseph Escandon

Joseph Lavigne
Julia Evans

Kelly Bryson
Kelly Swenney
Mary Landrieu
Lexy Buller
Linda Kimes
Maria Soriano
Marilyn Shmberg
Marvin Opolowsky
Michael Milby -
Nancy Swan

Neil Hurley
Ozanam inn

Pan Radosta

Pamela Angelette

Pat Scherer

* Pat Vance
Paula F McCants
Ramsey Prather
Risk Windhorst
Robby Walsh
Robert Bergeron
Robert Lantz
Robert S Mueller JU
Gen. Russel Honore
Ruth Leard

Shelin Ashabranne

Steve Woodring
Steven Hartmann
Steven P Rayes
Susan Adains
Thomas Porteous
Tract Munster
Tracie L. Washington
Victorian Wu

L~

geraldine williams(@ilaed uscourts. av

ulenda_hassania@lias uscoutts pov

wilhamspl@adr.org

woven huniercdlacd uscourts gov

jwheeslinyigdkepplerspeakers.com

tauies crull(alacd uscourls.wov
james. letlen@iusdg.voy
Jah mannggusdyy Boy

ieputle; jopersialacy uscourls pov
john clu kigusigs pov
joumihan zweny@lacd uscoui ts poy

Joseph escandem@lacd uscourts pov

USALAE

kelly sweeney@cob.uscourts. wv
scnumon@landricu.senate, 2ov

texy_butlera@lacd.uscourts gov

pucianom@adr ory

wshtaber g@archdivcese-pu.org
inacvin.opolowsky@usdoLpov
michael ulby@ty.uscourts poy
newand-12(@pinailcom

OPR

inno@ebellsguth net

pam radostadalsed.uscourts. pov

pamgla_augelette(aulacd. uycQuils.2oVv

pal_scherettalaed uscoutts pov
pyancefaoneswalker.com

 

Layscy prathenallacd uscourts.gov

bob@derescenttitle.com
robert_lautg@eob.uscourts. gov
robert miuellergine. (bio
russel honore@pmail.com

iuth_leard@lacd.uscguits ov

  

shela_ashabrauneiaitas uscourts pov
steve woud ingiadps Ja.zoy
steven haqunan(@usda) guy

stayes@lea.yov
augan_adamg@lacd uscourts ov

acl munsterallacd uscourts gov

Uwesg@icoa net

victorian wu(a@hacd uscourys.Zov

Page § of 6

Page 8 of 42
Page 8 of 22

Attachment Z
1 '

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 9 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 9 of 22

Attachment Z

Virginia Schlueter
Walter Martin

Willian Alford alfuuxcelaw harvard edu
Scott Johnson

4, An
NEW ORLEANS, LOUISIANA, this the MG of Wh AE.
/
/ 4 ,

’
a“
a
“

Lf G8

  

Page 6 of 6
to

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 10 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 10 of 22

Attachment Z

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

Updated 10/31/2011 DAC 05:32
An Unedited Synopsis.
Please Google all names.

THE RELUCTANT PATRIOT
By Captain David Andrew Christenson
(Book Nine in a nine part series.)
Library of Congress LCCN 2011940256
ISBN 978-0-9846893-0-9 Hardback
ISBN 978-0-9846893-1-6 EBook

Factual, documented and verifiable account of what happened to (The Author) Captain David Andrew
Christenson, United States Air Force, on March 15", 2011.

On the morning of March 15", 2011 the FBI brought a 30 man SWAT team, with shoot to kill orders, to
arrest Captain David Andrew Christenson for a non-violent, non-domestic, non-drug misdemeanor
charge (Equivalent of a DUI or DWI.) of cyber stalking FBI Agent Steven Rayes. This was done under the
authority of FBI Director Robert Mueller. Misinformation was provided to the press. Six months earlier
on October 14", 2010 (This is a very important date, see below) FBI Agent Steven Rayes contacted
Captain David Andrew Christenson. Why did Agent Rayes contact Captain Christenson? Agent Rayes was
a member of the uniformed Violent Crimes Task Force and he was not a true investigative type FBI
Agent. Captain Christenson had been communicating with FBI Director Robert Mueller, Agents David
Welker, Dewayne Horner, Joseph Downing, Kelly Bryson and Paula McCants. Agent Rayes was selected
by Director Mueller to be the enforcer. Agent Rayes was an ex-enlisted Marine and street cop with no
conscious and was someone who would blindly follow orders understanding the illegal mission. Agent
Rayes was zealous and sadistic in carrying out his orders. Agent Rayes ordered Captain Christenson to
email him at his official FBI email addresses. Agent Rayes commenced to harass, stalk, threaten,
intimidate and assault Captain Christenson. On November 10", 2010 Agent Rayes assaulted Captain
Christenson at the Hilton Hotel in New Orleans. There was a DVD of the assault. The FBI used a Louisiana
State arrest warrant and a Louisiana State search and seizure warrant. The FBI did not use Federal
Warrants. This needs to be said again. The FBI did not use Federal warrants. Captain David Andrew
Christenson has never been charged with a crime. The FBI claimed that two out of more than 500
emails sent to at least 10 different FBI Agents, including FBI Director Robert Mueller, by Captain
Christenson were threatening. The emails were not threating and were consistent with previous
informative and political emails. Captain Christenson never received an arraignment, a show cause
hearing or a preliminary examination as is required by law. Orleans Parish District Attorney Leon
Cannizzaro asked for a $500,000.00 bond. The Orleans Parish Criminal Court gave Captain Christenson a
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 11 of 42
Case 1:19-gj-O0048-BAH Document 7 Filed 07/31/19 Page 11 of 22

Attachment Z

record bond of $300,000.00. Captain Christenson should have been released on his own recognizance or
a $10,000.00 bond. (An armed carjacker received a $75,000.00 bond.) Captain Christenson was held for
11 days in the Orleans Parish Prison without being charged with a crime. After day three Captain
Christenson was placed in isolation on the psychiatric floor of the house of detention (HOD) where he
was medicated without his knowledge or consent. Attorney General Eric Holder directed Assistant US
Attorney Billy Gibbens to represent Captain Christenson, which he did. Criminal defendants are not
represented by US Attorneys. Billy Gibben’s mission was to discredit Captain Christenson and to keep
him in prison. The court record confirms this. Captain Christenson was to be permanently detained ina
psychiatric hospital, medicated and discredited. The Louisiana State search and seizure warrant was
used to steal evidence, tegal files, the DVD of FB! Agent Rayes assaulting Captain Christenson, the DVD of
the Danziger Bridge murders, etc. from Captain Christenson. United States Supreme Court files and
communications and evidence of “The Katrina Virus” and pending Genocide were stolen as well.

The Department of Justice classified Captain David Andrew Christenson as a

terrorist. This was done to bypass Federal Law and the Federal Judiciary. It was relayed to Captain
Christenson that if he did not stop his research and quest for justice that he would be assassinated as a
terrorist.

The F8i attempted to murder/assassinate Captain David Andrew Christenson while he was being held in
isolation in the Orleans Parish Prison. Coast Guard Commander William Wesley Goetzee was not so
lucky. He was murdered in the Orleans Parish Prison on August 7, 2011. The FBI failed with Captain
Christenson but succeeded with Commander Goetzee.

What was so important that the United States Government had to classify Captain David Andrew
Christenson as a terrorist and then attempt to murder/assassinate him?

Chemical warfare ingredients, “THE KATRINA VIRUS”, were released during Hurricane Katrina. The end
result will be GENOCIDE for the residents of New Orleans. (“The Katrina Virus” represents all of the
contaminants that were released from government research/laboratory, manufacturing and storage
facilities. These facilities were controlled directly and indirectly by the Department of Defense and the
Central Intelligence Agency and included public institutions such as local hospitals and medical schools.
The Harvard University Medical School has been tasked with studying and tracking the long term
health/medical issues and “The Katrina Virus”.

The United States Military killed, executed and murdered Americans during Hurricane Katrina and after.
A side note. Secretary of Defense Donald Rumsfeld had a very public disagreement with President
George Bush concerning the use of the military. Captain Christenson does not recall there ever being a
public disagreement between the President and the Secretary. What is strange is that the press never
picked up on the disagreement. Secretary Rumsfeld already knew about what the military had done and
was concerned about the liabilities. President Bush had to order Secretary Rumsfeld to send in the

troops. General Russel Honore and the troops arrived five days after Hurricane Katrina. General Honore
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 12 of 42
Case 1:19-gj-O0048-BAH Document 7 Filed 07/31/19 Page 12 of 22

Attachment Z

confirmed to me that he was only responsible for what the military did after he arrived and not before.
He was adamant about that. Both he and Coast Guard Admiral Mary Landry lost promotions, their next
star and were forced to retire. Why the five day delay when plans and procedures require the securing
of an urban area within 72 hours after a catastrophe. There were several reasons for the delay. “The
Katrina Virus” would disperse. The DOD and the CIA, in connection with the United States Navy, could
clean up the mess without having the press around. It was brilliant the way the Federal Government
kept the press occupied with the rescue missions, the superdome and the convention center. Louisiana
Governor Kathleen Blanco was intentionally manipulated by the Federal Government and made into a
scapegoat. FEMA Director Michael Brown was manipulated as well.

The BP oil spill. To be Written.
The Danziger Bridge. To be written.

Books Seven and Eight will start in September, 2005. The US Military arrives in New Orleans in the days
preceding Hurricane Katrina. The units were issued millions of dollars in cash in satchels. Confirmed by
Teresa McKay, Director of Department of Defense Finance and Accounting Service (DFAS). Teresa’s
husband, Jeffery McKay, and | attended the Air Force Academy together and were roommates in flight
school. JK works in the Pentagon and is also one of my sources. In the days following Hurricane Katrina
President Bush and Air Force One did a flyover of New Orleans but did not land. The White House issued
a press release stating that security was not in place and that the President’s landing would detract from
the rescue missions. As an Air Force Pilot | flew support missions for the President, Air Force One and
the Secret Service. | am intimately familiar with their procedures and protocols. President Bush and Air
Force One did not land because The White House did not want to infect the President and his staff with
“The Katrina Virus” as was confirmed by Ambassador Donald Ensenat. Security was in place and Belle
Chase Naval Air Station was operational and secure. The senior leadership in New Orleans gave blood
and DNA samples. This as well as other connections to “The Katrina Virus” were confirmed by Mayor Ray
Nagin. After the Hurricane, USAA Insurance (A military insurance company run by Generals and
Admirals with strong ties to the Pentagon.) informed us that they would be paying our claim because of
the lang term health issues that we would face. What did USAA know? In February, 2006 we purchased
a condominium, under fraudulent circumstances, from Louis (Lee) Madere. He was the Louisiana State
Grand Jury Foreman for the Danziger Bridge Murders. ({ cannot invent the truth) The Catholic Church

had filed a class action video voyeurism lawsuit against him. Madere entered the Federal Witness
Protection Program on October 15", 2010 (The important date from above.). Secretary of HUD, Mayor
and Judge Moon Landrieu, the father of Senator Mary Landrieu and Mayor Mitch Landrieu, was a major

source of information.

State Farm Insurance and the murder of prominent Los Angeles attorney James Robie of the Robie
Matthai Law Firm. To be written. Please review your homeowner's policy. The medical liability provision
of the homeowner's policy is substantial larger than the property loss provision. A $100,000.00 home
could have a $5,000,000.00 medical liability provision. The loss to the insurance companies would be
trillions of dollars if it was shown that “The Katrina Virus” was released.
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 13 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 13 of 22

New Orleans man booked on two counts of cyberstalking, TV station reports Att d chime n t Z

nola

Evecything New Orieans

New Orleans man booked on two counts of cyberstalking, TV
station reports

Times-Picayune Staff By Times-Picayune Staff

Follow on Twitter

on March 17, 2011 at 8:26 AM, updated March 17, 2011 at 10:28 AM

A New Orleans man is in jail, booked on two charges of cyberstalking after he allegedly sent threatening
e-mails to an FBI agent, WDSU-TV reports.

oe .
Fe David Christenson, 53, was arrested Tuesday and remains jailed on a $300,000
i “ "

tai bond, court records show.
* a ow

em

cs

Christenson allegedly sent the e-mails after an FBI agent interviewed him last __

    

month about “inappropriate” e-mails Christenson sent to judges and their
employees, the station reports.

 

© 2013 NOLA.com. All rights reserved.

aero TR Ord fae Oo

Orleans Parish
Sheriff's Office

David Christenson

Just what are inappropriate emails sent to official email addresses? Are
inappropriate emails illegal? The 1* Amendment clearly states that an
American has the right to petition the Government. NO CHARGES WERE
EVER FILED AGAINST DAVID ANDREW CHRISTENSON. THE EMAILS
WRRE NEVER SUBMITTED INTO THE COURT RECORD. THIS PRESS
RLEASE WAS A MISTAKE BY THE DOJ AND JIM LETTEN.

http://blog.nola.com/crime_impact/print.html?entry=/201 1/03/new orleans_man_ booked ... 9/16/2013
fd
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 14 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 14 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

   
 

Case: 19-5091
1:19-cv-00800-T.

David Andrew Christenson — Appellant (Movant)
v.

Appellee — NA

(Judicial Watch, Inc., Appellee v. United States Department of Justice, Appellee)

Twelfth Supplemental Petition for Rehearing En Banc - Notice 43 — Guilt from his participation in the
Genocide of Mankind is killing Special Counsel/FBI Director Robert Mueller. A form of suicide which is
now a life choice.

in the beginning Mueller may not have known what he was doing but when his name appeared on my
Non-Domestic Stay Away Order, dated March 15" 2011, he then knew. He always had that nagging
feeling that he was doing something wrong. | was never charged with a crime. Look carefully at the 74
names and email addresses on the Non-Domestic Stay Away Order. Why no Federal Judges? Why my
attorneys and friends?

His testimony before the house was that of a guilty murderer. Mueller realized he was Hitler. He had no
idea | would be so tenacious on behalf of the American People. | sent packages, letters and emails to
him and his staff. | called several times and left messages.

| will honor my oath until the day that | die.

MUELLER KNOWS THAT TRUMP IS GUILTY. MUELLER KNOWS THAT IF HE PURSUES TRUMP THEN THE
FIRST PARAGRAPH OF MY BOOK, THE UNITED STATES SUPREME COURT AND THE KATRINA VIRUS,
BECOMES A KNOWN REALITY. THE COVERUP STOPS. MUELLER HAS CHOSEN SUICIDE OVER HONOR.

TIME, MATH, TRUMP, ETC. WILL ENSURE THAT THE TRUTH COMES OUT.
Mueller lived a wasted life.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7

By David Andrew Christenson

ISBN 978-0-9846893-8-5 Hardback SCKV

ISBN 978-0-9846893-9-2 EBook SCKV

LCCN 2012933074

Copyright 1-724163643

Persimmon Publishing

Box 9063

Miramar Beach, Florida 32550

An Epic Constitutional Crisis. | am talking about the political destruction of all three branches
(Executive, Judicial and Legislative) of our Federal Government. One hundred and fifty five million

Americans and Canadians may be infected with The Katrina Virus. Did the United States Supreme Court
participate in the criminal cover-up? Misprision is a crime/felony. tn simple terms it means that you had

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 15 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 15 of 22

Attachment Z

knowledge of a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the
knowledge. The real question is: what did the Supreme Court do with the knowledge of The Katrina
Virus and the cover-up?

The Attached are the cover page/pleading for three — Twelfth Supplemental Petitions for Rehearing -
Judicial Watch, Inc. v. United States Department of Justice (19-5091) Court of Appeals for the D.C.
Circuit, United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v.
Robert Mueller, It (19-5057) Court of Appeals for the D.C. Circuit, Electronic Privacy Information (EPIC)
v. Department of Justice (19-5121) Court of Appeals for the D.C. Circuit

  

David Andrew tenson
Box 9063 - Miramar Beach, Florida 32550
504-715-3086 - davidandrewchristenson@gmail.com; - dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

 

 

David Andrew Christenson
fof
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 16 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 16 of 22

Attachment Z

}

Case: 19-5057 f

\ sis oraass est

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCU

  
   
 

David Andrew Christenson — Appellant (Movant)
v.
Appellee —NA

—

Twelfth Supplemental Petition for Rehearing En Banc - Notice 43 — Guilt from his participation in the
Genocide of Mankind is killing Special Counsel/FBI Director Robert Mueller. A form of suicide which is
now a life choice.

In the beginning Mueller may not have known what he was doing but when his name appeared on my
Non-Domestic Stay Away Order, dated March 15" 2011, he then knew. He always had that nagging
feeling that he was doing something wrong. | was never charged with a crime. Look carefully at the 74
names and email addresses on the Non-Domestic Stay Away Order. Why no Federal Judges? Why my
attorneys and friends?

His testimony before the house was that of a guilty murderer. Mueller realized he was Hitler. He had no
idea | would be so tenacious on behalf of the American People. | sent packages, letters and emails to
him and his staff. | called several times and left messages.

| will honor my oath until the day that | die.

MUELLER KNOWS THAT TRUMP IS GUILTY. MUELLER KNOWS THAT IF HE PURSUES TRUMP THEN THE
FIRST PARAGRAPH OF MY BOOK, THE UNITED STATES SUPREME COURT AND THE KATRINA VIRUS,
BECOMES A KNOWN REALITY. THE COVERUP STOPS. MUELLER HAS CHOSEN SUICIDE OVER HONOR.

TIME, MATH, TRUMP, ETC. WILL ENSURE THAT THE TRUTH COMES OUT.

Mueller lived a wasted life.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7

By David Andrew Christenson

ISBN 978-0-9846893-8-5 Hardback SCKV

ISBN 978-0-9846893-9-2 EBook SCKV

LCCN 2012933074

Copyright 1-724163643

Persimmon Publishing

Box 9063

Miramar Beach, Florida 32550

An Epic Constitutional Crisis. lam talking about the political destruction of all three branches
(Executive, Judicial and Legislative) of our Federal Government. One hundred and fifty five million
Americans and Canadians may be infected with The Katrina Virus. Did the United States Supreme Court
participate in the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had
knowledge of a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 17 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 17 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

   
 

/
David Andrew Christenson — Appellant (Movant) ~
v. “ABJ-1
Appellee — NA

Twelfth Supplemental Petition for Rehearing En Banc - Notice 43 — Guilt from his participation in the
Genocide of Mankind is killing Special Counsel/FBI Director Robert Mueller. A form of suicide which is
now a life choice.

in the beginning Mueller may not have known what he was doing but when his name appeared on my
Non-Domestic Stay Away Order, dated March 15" 2011, he then knew. He always had that nagging
feeling that he was doing something wrong. | was never charged with a crime. Look carefully at the 74
names and email addresses on the Non-Domestic Stay Away Order. Why no Federal Judges? Why my
attorneys and friends?

His testimony before the house was that of a guilty murderer. Mueller realized he was Hitler. He had no
idea ! would be so tenacious on behalf of the American People. | sent packages, letters and emails to
him and his staff. | called several times and left messages.

{ will honor my oath until the day that | die.

MUELLER KNOWS THAT TRUMP IS GUILTY. MUELLER KNOWS THAT IF HE PURSUES TRUMP THEN THE
FIRST PARAGRAPH OF MY BOOK, THE UNITED STATES SUPREME COURT AND THE KATRINA VIRUS,
BECOMES A KNOWN REALITY. THE COVERUP STOPS. MUELLER HAS CHOSEN SUICIDE OVER HONOR.

TIME, MATH, TRUMP, ETC. WILL ENSURE THAT THE TRUTH COMES OUT.
Mueller lived a wasted life.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7

By David Andrew Christenson

ISBN 978-0-9846893-8-5 Hardback SCKV

ISBN 978-0-9846893-9-2 EBook SCKV

LCCN 2012933074

Copyright 1-724163643

Persimmon Publishing

Box 9063

Miramar Beach, Florida 32550

An Epic Constitutional Crisis. | am talking about the political destruction of all three branches

(Executive, Judicial and Legislative) of our Federal Government. One hundred and fifty five million

Americans and Canadians may be infected with The Katrina Virus. Did the United States Supreme Court
participate in the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had
knowledge of a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the
bod

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 18 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 18 of 22

Attachment Z

knowledge. The real question is: what did the Supreme Court do with the knowledge of The Katrina
Virus and the cover-up?

The Attached are the cover page/pleading for three — Twelfth Supplemental Petitions for Rehearing -
Judicial Watch, Inc. v. United States Department of Justice (19-5091) Court of Appeals for the D.C.
Circuit, United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v.
Robert Mueller, III (19-5057) Court of Appeals for the D.C. Circuit, Electronic Privacy Information (EPIC)
v. Department of Justice (19-5121) Court of Appeais for the D.C. Circuit

 

Box 9063 - Miramar Beach, Florida 32550
504-715-3086 - davidandrewchristenson@gmail.com; - dchristenson6@hotmail.com:;

CERTIFICATE.OF SERVICE

   

 

David Andrew Christenson
“| 4
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 19 of 42

Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 19 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-3012
Vv. 1:19-cr-00018-ABJ-1
Appellee — NA

Fourteenth Supplemental Petition for Rehearing En Banc - Notice 45 - The attached Motion to Intervene
and Join was filed in: Unknown Case Title (1:19-gj-00048) District Court, District of Columbia

Fourteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, tll (19-5057) Court of Appeals for the D.C.
Circuit.

Notice 45 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
the D.C. Circuit

Godspeed

   

David AndréW Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

 

 

i a

David Andrew Christenson
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 20 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 20 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-5091
Vv. 1:19-cv-00800-TSC
Appellee — NA

(Judicial Watch, Inc., Appellee v. United States Department of Justice, Appellee)

Fourteenth Supplemental Petition for Rehearing En Banc - Notice 45 - The attached Motion to Intervene
and Join was filed in: Unknown Case Title (1:19-gj-00048) District Court, District of Columbia

Fourteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, ttl (19-5057) Court of Appeals for the D.C.

Circuit.

Notice 45 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 21 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 20 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-5091
v. 1:19-cv-00800-TSC
Appellee — NA

(Judicial Watch, Inc., Appellee v. United States Department of Justice, Appellee)

Fourteenth Supplemental Petition for Rehearing En Banc - Notice 45 - The attached Motion to Intervene
and Join was filed in: Unknown Case Title (1:19-gj-00048) District Court, District of Columbia

Fourteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, tll (19-5057) Court of Appeals for the D.C.

Circuit.

Notice 45 - Electronic Privacy information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
the D.C. Circuit

 

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

  
  
 
 

     
  
  

‘Oregoing with the Clerk of Court and
ecord by e-mail and first-class mail.

| hereby certify that on J
served the plie¢adin

, 2019 | fited
all cou

David Andrew Christenson

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 22 of 42
Case 1:19-gj-00048-BAH Document 7 Filed 07/31/19 Page 21 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-5121
Vv. Civ. Action No. 19-810 - RBW
Appellee — NA

(Electronic Privacy Information Center v. United States Department of Justice)

Notice 45 — The attached Motion to Intervene and Join was filed in: Unknown Case Title (1:19-gj-00048)
District Court, District of Columbia

Fourteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, Ili (19-5057) Court of Appeals for the D.C.
Circuit.

Notice 45 - Electronic Privacy information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
the D.C. Circuit

Godspeed

   
   

Sincerely,

David A
Box 9063
Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

| hereby certify that on Ju 26019 | filed the foregoing with the Clerk of Court and

served the pleading on al ufise] of record by e-mailan first-class mail.
U 7

David Andrew Christenson
| i
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 23 of 42
Case 1:19-gj-O0048-BAH Document 7 Filed 07/31/19 Page 22 of 22

Attachment Z

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-5057
Vv. 1:18-cv-2885-ESH
Appellee — NA

Fourteenth Supplemental Petition for Rehearing En Banc - Notice 45 - The attached Motion to Intervene
and Join was filed in: Unknown Case Title (1:19-gj-00048) District Court, District of Columbia

Fourteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, Iii (19-5057) Court of Appeals for the D.C.
Circuit.

Notice 45 - Electronic Privacy Information (EPIC) v. Department of justice (19-5121) Court of Appeals for
the D.C. Circuit

Godspeed

  
   

avid Andrew Ch
Box 9063
Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

nso

CERTIFICATE OF SERVICE

 

 

David Andrew Christenson
log

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 24 of 42

Case 1:19-gj-00048-BAH Document 10 Filed 08/06/19 Pan t {3

chment Z

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

Movant David Andrew Christenson Civ. No. 1:19-gj-00048-BAH

Application of The Committee on The Judiciary, Chief Judge Beryl A. Howell
U.S. House Of Representatives, For an Order

Authorizing the Release of Certain Grand Jury

Materials

Motion to Reconsider
(Seventeenth Supplemental Petition for Rehearing En Banc - Notice 48)

Multiple suicides within President John F. Kennedy's and Attorney General Robert F. Kennedy's family.
The latest suicide was Saoirse Kennedy Hill. She was 22 and a junior at Boston College.

Did the Kennedy’s create the suicide epidemic, which is now a life choice, with their policies on Chemical
Warfare Weapons? Did they create the perfect weapon? Organic, easy to disperse, dissipates in five
days with the result being the opposing army committing suicide.

Were the Kennedy’s assassinated because of their policies on Chemical Warfare Weapons?

New Orleans, the Chemical Warfare Industry, Senator Ted Cruz and his father, Cuban born Rafael Cruz,
Lee Harvey Oswald, Carlos Marcello and his crime family, President John F. Kennedy, the suicide
epidemic and the Katrina Virus are all connected through me to this point in history.

The beginning of the end started in New Orleans with the Chemical Warfare industry and our own CIA
and DOD.

Here is how strange my life is. Unbeknownst to me | worked for the Carlos Marcello crime family out of
New Orleans. He was connected to the Chemical Warfare industry in New Orleans and Lee Harvey
Oswald. Review his criminal history with the courts, specifically the 5 Circuit and his release from
prison.

Attachment 1: Amicus (Ten) docketed with Judge John George Koelt! in the Democratic National
Committee v. The Russian Federation (1:18-cv-03501-JGK) District Court, S.D. New York

You have to read the Amicus Attachment. | could not have invented it.
How could the National Enquirer break such a story?
The end of Mankind and no one cares.

Seventeenth Supplemental Petitions for Rehearing - Judicial Watch, inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, tll (19-5057) Court of Appeals for the D.C.

Circuit. RECEIVED
Mail Room

AG - 6209

Aggen D. Caesar, Oerh of Court
US. Otic Comt, District of Columbia

 

 

 

 

 

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 25 of 42

Case 1:19-gj-00048-BAH Document 10 Filed 08/06/19 Atta C

hment Z

Notice 48 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
the D.C. Circuit

Godspeed

Singer

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

   

 

David Andrew Christenson

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 26 of 42

 

 

Case 1;:19-gj-00048-BAH Document 10 Filed 08/06/19. "A 3,0f 8

Attachment Z

Case 1:18-cv-03501-JGK Document 84 Filed 06/04/18 Page 1

- Attachment 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Movant David Andrew Christenson Civil Action No. 1:18-cv-03501

DEMOCRATIC NATIONAL COMMITTEE, . Racketeer influenced and
Corrupt Organization Act (RICO)

Plaintiff,

Vv. Judge John G. Koelti

RUSSIAN FEDERATION, et al;
Defendants.

Amicus (Ten)

Here is a crazy story about why Trump won the election. (john Does 1-10 are listed as defendants. John
Does 1, 2, 3, 4, 5 and 6 are listed below.) Time, math and the Russians will ensure that the truth comes
out about the Katrina Virus. Review my Amicus (Sixth) and Amicus (Seventh).

{Maxwell Kutner, a senior writer at Newsweek, contacted me and was doing a story on my quest to save
Mankind. We exchanged emails and text messages. He interviewed me and we spoke several times by
phone. Newsweek requested a JPEG picture. Newsweek Editors all of a sudden did not want to run the
story. | find it odd that a sensational rag like Newsweek would not run the story. Maxwell Kutner has left
Newsweek and disappeared. | had his phone numbers and email addresses, both personal and
professional and have attempted to contact him.}

David Pecker (John Doe 1), friend and supporter of Trump for President, rich guy and owner of the
National Enquirer, discovers the connection between Senator Ted Cruz’s father, Cuban born Rafael Cruz,
Lee Harvey Oswald, New Orleans, President Kennedy and the Katrina Virus. The National Enquirer
breaks the story of the century and then does not pursue it. In exchange for silence Pecker gets his
friend Trump elected. This is the response (attached) that | got from the National Enquirer after | sent
out a blast of emails promoting the story that they were going to run. Why do you think they did not
want the publicity? Pecker is as greedy as they come.

David, Please don’t send out a blast email saying the National Enquirer is working on the story.

That defeats the purpose of any investigation.

And more importantly, | still don’t know if we gaing to chase the story.

Everything depends on the editors.

DOUGLAS MONTERO

NATIONAL CORRESPONDENT NATIONAL ENQUIRER

4 New York Plaza, Level 2, New York, NY 10004

Office 212-339-1908 | Cell 646-259-5504 | Fax 212-448-9441 | Email: dmontero@nationalenquirer.com

Cruz drops out the race a few weeks after the story broke about his dad.

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 27 of 42

 

_Case 41:19-gj-00048-BAH Document 10 Filed 08/06/19 PAT of 8

tachment Z

Case TEN OS SOCK Document 84 Filed 06/04/18 Page 2 of 7

Attachmen

Donald Trump wins the Presidency

Senator Ted Cruz’s drops out of the race on May 3, 2016 and endorses Trump on September 23", 2016
(John Doe 4)

Senator Ted Cruz’s father, Rafael B. Cruz worked in the chemical warfare labs in New Orleans and he
wanted Castro assassinated.

David Pecker friend and owner of the National Enquirer

Enquirer/Douglas Montero dmontero@nationalenquirer.com

licensing@amilink.com

Judith Sheindlin — “Judge Judy” ohn Doe 2)

Gerald "Jerry" Sheindlin See attached email (John Doe 3)

WORLD EXCLUSIVE! Ted Cruz’s Father — Caught With JFK Assassin

Worked with Lee Harvey Oswald for Kennedy's worst enemy!

By J.R. Taylor Apr 20, 2016 @ 10:16AM
https://www.nationalenquirer.com/celebrity/ted-cruz-scandal-father-jfk-assassination/

Etienne Uzac (John Doe 5) and Johnathan Davis (John Doe 6) own Newsweek and have an interesting
story. Are they Trump supporters? Strong Russian Connections and Financing.

Maxwell (Max) Kutner

http://www.maxwellkutner.com/

Max Kutner is an award-winning journalist and frequent television and radio quest covering politics and
general assignment news. Most recently, he was a senior writer at Newsweek, where he led coverage of
the FBI, Department of Justice and Russia investigations.

Godspeed.

  
 
 

David-Andr
Box 9063
Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com

Christenson

 

 

 
   
 
 

OF SERVICE
the foregoing with the Clerk of Court and
it and first-class mail.

| hereby certify that on M

served the oe
—

uo

 

David Andrew Christenson

 
‘

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 28 of 42

 

. Case 1:19-gj-00048-BAH Document 10 Filed 08/06/19 P of 8
sero Case 1:18-cv-03501-JGK Docum@matiSis FiledO6104/18 P chment Z
Attachment 1
mM G mail David Andrew Christenson <davidandrewchristenson@gmail.com>

this is my contact

Montero, Douglas <dmontero@nationalenquirer.com> Wed, May 4, 2016 at 9:49 AM
To: “davidandrewchristenson@gmail.com" <davidandrewchristenson@gmail.com>

Gerald “Jerry” Sheindlin (bom November 19, 1933)

DOUGLAS MONTERO
NATIONAL CORRESPONDENT

ENQUIRER

4 New York Plaza, Level 2, New York, NY 10004

Office 212-339-1908 | Cell 646-259-5504 | Fax 212-448-944]
| Email: dmontero@nationalenquirer.com

https://maul.googte.com/mailiu/0/?ui=28ik= 749437 82f98jsver=-dxVNC9Y02g9.en.&cb=gmail_fe_180516.06_p8&view=pt&msg=1547c3eci7a2ed87&q=national%20

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 29 of 42

Case 1:19-gj-00048-BAH Document 10 Filed 08/06/19 Page 6 of 8
Case 1:18-cv-03501-JGK Document 84 Filed 06/04/18 P tachment Z

Attachment 1 Gmail - very important — please

m Gmail David Andrew Christenson <davidandrewchristenson@gmail.com>

 

 

very important -- please

Montero, Douglas <dmontero@nationalenquirer.com> Wed, May 4, 2016 at 12:21 PM
To: David Andrew Christenson <davidandrewchristenson@gmail.com>

David,

Please don't send out a blast email saying the National Enquirer is working on the story.
That defeats the purpose of any investigation.

And more importantly, | still don't know if we going to chase the story.

Everything depends on the editors.

DOUGLAS MONTERO
NATIONAL CORRESPONDENT

4 New York Plaza, Level 2, New York. NY 10004

Office 212-339-1908 | Cell 646-259-5504 | Fax 212-448-9441
| Email: dmontero@nationalenquirer.com

https://mail.google.com/mailwO/?ui=2 &ik=7d943782f98jsver=BNKYflymS-0. en. &view=pt&msg= 154 7cc9105b 1 9bb4&q=douglas %Z0montero%20&sea... 1/1

 
_ Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 30 of 42

 

Case 1:19-gj-00048-BAH Document 10 Filed 08/06/19 Page 7 of 8
Case 1:19-cv-03501-JGK Document 84 Filed osoais parbkachment Z
Atta C h me nt Gmail - Re: Attached 1s the docket from the Flynn case. Compare it to the Court Listener Docket.

mM Gmail David Andrew Christenson <davidandrewchristenson@gmail.com>

Re: Attached is the docket from the Flynn case. Compare it to the Court Listener
Docket.

Maxwell Kutner <m.kutner@newsweek.com>
To: David Andrew Christenson <davidandrewchristenson@gmail.com>

 

 

 

Thu, Apr 5, 2018 at 3:41 PM

Received. Dave, | appreciated your taking the time to speak with me the other day and send me these follow-ups, but my
editors said we need to hold off on doing a story unless a judge allows one of your motions to move forward. | pushed
back on their decision, to no avail. I'm sorry about that and J'li let you know if things change. So, no story for now.

Thank you,
Max

On Thu, Apr 5, 2018 at 8:29 AM, David Andrew Christenson <davidandrewchristenson@gmail.com> wrote:
| send the same info and pleadings to every judge. Each pleading is titled for that case. Why is Judge Sullivan putting in
the narratives but not my name? Why is he the only judge? Why is Judge Jackson docketing some of my pleadings and
using my name? Read the last narrative by Judge Jackson about me in the Van De Zwaan case. Why was it so
important to use my name twice?
Are these two judges trying to help me?
Are you really going to help me save Mankind.

Dave

Max Kutner Seno: Wile.

Direct: +1 (646) 867 7123 | Fax: +1 (646) 224 8146

| Newsweek

7 Hanover Square FL 5 New York NY 10004

www.newsweek.com

https //mail.google.convmail/w0/?ui=2&ik=7d9437 8298jsver=-dxVNc9Y02g.en.&.cbl=gmait_fe_180516.06_p8&view=pt&msg=162978b4b2eae5808.q=m.kutner%40ne

 
i

Case 1:19-cv-02399-RDM_ Document 6-1 Filed 08/12/19 Page 31 of 42

Case’ 1:19-gj-00048-BAH Document 10 Filed 08/06/19 Page 8 of 8
Case 1:18-cv-03501-JGK Document 84 Filed 06/04/18 PakBpiycChment Z

Attachment 1 —~——

mM Gm ail David Andrew Christenson <davidandrewchristenson@gmail.com>

 

Delivery Status Notification (Failure)

 

Mail Delivery Subsystem <mailer-daemon@googlemail.com> Wed, May 16, 2018 at 8:13 AM
To: davidandrewchristenson@gmail.com

Address not found

aaa Your message wasn't delivered to m.kutner@newsweek.com
because the address couldn't be found, or is unable to receive
mail.

LEARN MORE

The response was:

The email account that you tried to reach is disabled. Learn more at https://support.google.com/
mait/?p=DisabledUser t17-v6sor2138197uab.243 - gsmtp

Final-Recipient: rfc822; m.kutner@newsweek.com

Action: failed

Status: 5.0.0

Diagnostic-Code: smtp; The email account that you tried to reach is disabled. Lear more at https://support.google.com/
mail/?p=DisabledUser t17-v6sor2138197uab.243 - gsmtp

Last-Attempt-Date: Wed, 16 May 2018 06:13:33 -0700 (PDT)

 

Forwarded message
From: David Andrew Christenson <davidandrewchristenson@gmail.com>

To: Supreme Court <supremecourt@protonmail.com>, Maxwell Kutner <m.kutner@newsweek.com>

Cc: "maxwelikutner@gmail.com" <maxwellkutner@gmail.com>

Bec:

Date: Wed, 16 May 2018 08:43:32 -0500

Subject: Re: Fw: Corrections to your article about Movant David Andrew Christenson and the Democratic National
Committee. You should be reviewing his BP Oil Spill Appeal at the 5th Circuit.

Did you leave Newsweek?

 

On Wed, May 16, 2018 at 8:00 AM, Supreme Court <supremecourt@protonmail.com> wrote:
The Boucher case that Christenson talks about is the assault case against Senator Rand Paul by his neighbor.
Christenson wanted to join and file a cross complaint against the Democratic National Committee.
You really should read ail of his pleadings.
One last thing. There is a hearing on July 5", 2018. What Federal Judge has a hearing the day after the 4" of Juty?
You are talking about 100 plus attorneys having to cancel their 4" of July vacations. The court house would have been
empty that week.

https://mail.google.com/mail/w0/?ui=2&ik=709437 82/98 jsver=-dxVNc9Y02g.en.&cbi=gmail_fe_180516.06_p8&view=pt&msg=163691599310213e&q=m.kuiner%40ne

 
io
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 32 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 i. 1of11

ttachment Z

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

Movant David Andrew Christenson Civ. No. 1:19-gj-00048-BAH

Application of The Committee on The Judiciary, Chief Judge Beryl A. Howell
U.S. House Of Representatives, For an Order

Authorizing the Release of Certain Grand Jury

Materials

Notice of Appeal
Attachment 1: Supplemental Motion to Intervene and Join

Notice 47 — The attached Notice of Appeal was filed in: Unknown Case Title (1:19-gj-00048) District
Court, District of Columbia - Filed in Electronic Privacy Information (EPIC) v. Department of Justice (19-
5121) Court of Appeals for the D.C. Circuit.

Sixteenth Supplemental Petition for Rehearing En Banc - Notice 47 — The attached Notice of Appeal was
filed in: Unknown Case Title (1:19-gj-00048) District Court, District of Columbia - Filed in Judicial Watch,

Inc. v. United States Department of Justice (19-5091) Court of Appeals for the D.C. Circuit, United States
v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, {I} (19-
5057) Court of Appeals for the D.C. Circuit.

Reference the extensive docket created by David Andrew Christenson with the DC Circuit Court of
Appeals in the following four Appeals:

Electronic Privacy Information v. DOJ (19-5121) Court of Appeals for the D.C. Circuit
Jerome Corsi v. Robert Mueller, Ill (19-5057) Court of Appeals for the D.C. Circuit
United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit

Judicial Watch, Inc. v. DOJ (19-5091) Court of Appeals for the D.C. Circuit

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access to Criminal Proceedings, First Amendment and Common Law
guarantee the public’s right of access to criminal judicial proceedings.

Nixon v. Warner Communications: The courts recognize the public's right to inspect and copy iudicial
records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged
prosecutor misconduct. The term is “alleged”. There is no doubt the Federal prosecutors have
Leucadia v. Applied Extrusions Technologies: Access

Belo Broadcasting v. Clark: Access

Globe Newspaper v. Superior: The right of the public to monitor the government
Richmond Newspaper v. Virginia: Without publicity, all other c! are insufficient.

      

RECEIWED
Mait Room

WB - S200

Angela D, Caesar, Clerk of Court
{ U.S. District Court, District of Columbia

 

 

 

 

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 33 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 PK t of 11

ttachment Z

Valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journalists,
etc. play an indispensable role in gathering and disseminating information to the public.

Landmark Communications v. Virginia: To guard against the misca e of justice. To st rosecutor
misconduct before, during and after.
Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.

Pansy v. Stroudsburg: Third parties have a right to intervene.
In re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef

Industry Antitrust Litigation 589 F.2d 786, 789 5th Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Carolllo and Ford Motor Bronco I! MDL

Godspeed
Sincerely,

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com

   
  
 

1 hereby certify that on Augyé the Clerk of Court and

served the wa ail Lc

David Andrew Christenson

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 34 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Page 3 of 11

Attachment 1 ttachment Z

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

Movant David Andrew Christenson Civ. No. 1:19-gj-00048-BAH

Application Of The Committee On The Judiciary, Chief Judge Bery! A. Howell
U.S. House Of Representatives, For An Order

Authorizing The Release of Certain Grand Jury

Materials

Supplemental Motion to intervene and Join

Standing, Cause and Constitutional Authority are granted to me because of my communications with the
Grand Juries. All of my communications to the Grand Juries were copied, via pleadings, in multiple cases
that had been brought by the Special Counsel! to the Courts in the District of Columbia and District of
Eastern Virginia. Copies/Service was also provided to Special Counsel Robert Mueller.

What is the purpose of the Grand Jury? Who can provide information to the Grand Jury? Did the Court
or Clerk censor my information and me?

The Grand Jury had the Constitutional Right to know about Special Counsel/FB! Director Robert
Mueltler’s criminal activities.

Letter/Package 1 Dated January 16", 2018 91 pages
Letter/Package 2 Dated January 25", 2018 14 pages
Letter/Package 3 Dated January 28", 2018 71 pages
Letter/Package 4 Dated January 29", 2018 2 pages
Letter/Package 5 Dated January 30", 2018 4 pages

The Constitution, First Amendment, last sentence of the First Amendment (“and to petition the
government for a redress of grievances.”), Federal Law, Federal Case Law, Precedent, etc. grant me to
the right to file this pleading and to have it entered into the public court record.

Fifteenth Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States Department of
Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger Stone, Jr. (19-3012) Court
of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, III (19-5057) Court of Appeals for the D.C.
Circuit.

Notice 46 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of Appeals for
the D.C. Circuit

Reference the extensive docket created by David Andrew Christenson with the DC Circuit Court of
Appeals in the following four Appeats:

Electronic Privacy Information v. DOJ (19-5121) Court of Appeals for the D.C. Circuit

Jerome Corsi v. Robert Mueller, Ill (19-5057) Court of Appeals for the D.C. Circuit
i.

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 35 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Pa & 4 of 11

ttachment Z
Attachment 1

United States v. Roger Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit
Judicia! Watch, Inc. v. DOJ (19-5091) Court of Appeals for the D.C. Circuit

Precedent Cases (A small sample)

Press Enterprise v. Superior Court: Access
guarantee the public’s right of access to criminal wodlicial proceedings.
Nixon v. Warner Communications: The courts recognize the public’s right to inspect and copy judicial

 

 

records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged
misconduct. The term is “ . There Is no bt the ral have

committed criminal acts.

Leucadia v. Applied Extrusions Technologies: Access

Belo Broadcasting v. Clark: Access

Globe Newspaper v. Superior: The right of the public to monitor the government by having access.
Richmond Newspaper v. Virginia: Without publicity, all other checks are insufficient.

Valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journalists,
etc. an Indispensable role in and dissemi information to the public.

Landmark Communications v. Virginia: To inst the misca of . To

misconduct before, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.

Pansy v. Stroudsburg: Third parties have a right to intervene.
In re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef

Industry Antitrust Litigation 589 F.2d 786, 789 Sth Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Carolllo and Ford Motor Bronco {| MDL

 

Godspeed

 

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com

   

CATE OF SERVICE

served the plegdifg on prot re On First-class mail.

 

“David Andrew Christenson
i

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 36 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Page 5 of 11

Attachment 1 ttachment Z

(Special) Grand Jury being used by Special Counsel Robert Mueller January 16%, 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

The evidence, Genocide, of criminal conduct by Special Counsel Robert Mueller and his team of
prosecutors that you are about to review is unbelievable and yet it is factual, documented and
verifiable. You are Mankind’s last hope.

The Federal Judiciary, including the Supreme Court, are active participants in the criminal enterprise that
will result in the Genocide of Mankind.

My name is David Andrew Christenson (Federal Whistleblower and Military Officer) and | have filed, in
accordance with the Constitution and specifically the last sentence of the First Amendment, “and to
petition the Government for a redress of grievances” multiple Motions to intervene in this court as well
as other courts on behalf of the American People and that includes you and your family.

Mankind will cease to exist by October 12th, 2050. This is not a prophecy or prediction but a
mathematical certainty.

Special Counsel Robert Mueller currently has three criminal cases filed and has one civil case filed
against him. The court refuses to publicly docket my Motions and more importantly they have refused
to publicly docket my Notices of Appeal. ! am fighting to save my country and Mankind and the court has
censored me. The Constitution, Federal Law and precedent grant me the right to publicly file such
Motions, Notices and Grievances.

Please review the docket for each of the cases.

The prosecutors that are presenting evidence to you are some of the evilest people on this planet. They
make Hitler look like a Saint. Your loved ones will pay the ultimate price for the cover up that is taking
place. | beg you to save your family, your country and Mankind.

Godspeed.

Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com
1

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 37 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Page 6 of 11

| Attachment 1 Attachment Z

(Special) Grand Jury being used by Special Counsel Robert Mueller January 25", 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

Please don’t judge me. ! have no money. | own nothing and have nothing. There is no school or book
about how to do what | am doing. | have no God, no country, no family and no friends. Everyone and |!
mean everyone that had an ethical, moral and legal responsibility to help me not only turned their backs
on me but they intentionally harmed me. Your government has made sure that i don’t have the
resources to fight. Every attorney that tried to help wes threatened by the DOJ and then quit. Google
and YouTube stood by me for a while but the pressure from Robert Mueller became to great. If | was
wrong why did they falsely arrest me and place me insolation for 11 days where they medicated me
against my will and yet |! was never charged with a crime. | had an FBI Agent put a gun to my head with
the safety off and the hammer pulled back. He told me he could and would kill me if | didn’t stop and
that he would get away with it. [knew he was telling the truth. When I asked if Mueller knew he laughed
and stated that it was Mueller that gave the order.

Please review the attached docket which is 11 pages long. The clerk will provide you access to all of the
pleadings. The most important notes are as follows:

The judge in the case refuse to publicly docket my pleadings at the District level. This was a class action
complaint filed on behalf of all Americans and that includes you and me. | had standing and cause
because | was directly harmed. Notice that the DOJ never filed a response. Notice that the DOJ never
filed a response even when ordered to on multiple occasions. The court represented the DOJ and
refused to hold them accountable. Notice that the original complaint was filed by Larry Klayman and
was politically motivated. My motions were filed to help all Americans.

The court dismissed the appeal as being frivolous. If it was so frivolous why did they allow me to file
hundreds of pages of documents over a seven-month period. Why did they not demand a response from
the DOJ, even after ordering them to respond, when it is required by law.

The result is the Genocide of Mankind. Math and time are on my side and the truth will come out. The
problem is people are immune to such things and will not do anything to correct the Genocide.

Help me to help you save Mankind. Your government has convinced you to run to the cliff and jump and
you are doing just that. You make the decision after reading what | filed. The courts will no longer allow
me to be heard and they have censored me.

Read the Declaration of Independence and the Constitution and remember that our country was
founded by Terrorists. We call them heroes because they prevailed. The Declaration of Independence
talks about tearing our government down and starting over when it no longer serves the needs of the
people. That time is now. Thomas Jefferson said: “Tyranny is when the people fear the government and
liberty is when the government fears the people.”
ase-4:49-ev-02399-RDM Document 6-1 Filed 08/12/19 Page 38 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Page 7 of 11

Attachment 1 Attachment Z

The first page is the results of this week’s influenza and pneumonia mortality surveillance results from

the CDC.
s://www.cdc.gov/flu/weekly/index.htm

The results are for the week ending January 6", 2018. Remember that it is the CDC that sets the rate for

what we call an epidemic. Influenza and pneumonia, Alzheimer’s, suicide, murder(s}-suicide will be the

top three causes of death in the near future and all are tied to the destruction of our immune system.

America is 26% above the epidemic level that is set by your
government through the CDC. According to International Standards
we are at Pandemic levels.

 

Based on National Center for Health Statistics (NCHS) mortality surveillance data available on January
25, 2018, 9.1% of the deaths occurring during the week ending January 6, 2018 (week 1) were due to
P&I. This percentage is above the epidemic threshold of 7.2% for week 1.

Background: Weekly mortality surveillance data include a combination of machine coded and manually
coded causes of death collected from death certificates. Percentages of deaths due to P&I are higher
among manually coded records than more rapidly available machine coded records. Due to the
additional time needed for manual coding, the initially reported P&I percentages may be lower than
percentages calculated from final data. Previous longer backlogs in manual coding have been resolved
and death records are now coded within 10 days from receipt of a death record by NCHS.

Region and state-specific data are available at http://gis.cdc.gov/grasp/fluview/mortality. html.

Godspeed.

Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com

dchristenson6@hotmail.com
4

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 39 of 42
Case 1:19-gj-00048-BAH Document ii Filed 08/06/19 Page 8 of 11

Attachment 1 ttachment Z

(Special) Grand Jury being used by Special Counsel! Robert Mueller January 28", 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

After reviewing the documented, factual and verifiable evidence you will indict the President, Vice
President, all of Congress and all of the Federal Judiciary. Their crimes will be Genocide, Crimes Against
Humanity, Murder, Treasons, Sabotage, etc. We are talking the end of Mankind.

The Secret Grand Jury transcript that | received was forwarded by me to the Supreme Court. i received
the transcript from US Attorney Billy Gibbens. Compare my notes with the transcript. As with you the
guy testifying did not even know what he had seen.

My Motion to Reopen the BP Settlement has been docketed in multiple Federal Courts. Every Judge in
the United States knows about it. My appeal, believe it or not, is still pending. | attached the docket. You
can review every pleading.

| have also included one of my pleadings from the BP Oil Spill that incriminates the Supreme Court.
Case: 16-30918 Document: 00513737661 Page: 1 Date Filed: 10/27/2016

| have also included 19 pages of articles, from main stream media such as the New York Times, that
confirm the end of Mankind.

Godspeed.

Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com
dchristenson6@hotmail.com
i

Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 40 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 mR 9 of 11

: ttachment Z
Attachment 1

(Special) Grand Jury being used by Special Counsel Robert Mueller January 29", 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

Godspeed.

Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550

504-715-3086, davidandrewchristenson@gmail.com, dchristenson6@hotmail.com

Here is further proof that we nearing the end of Mankind’s existence. We have a vaccination for
everything. We have become bubbie people. We vaccinate the hell out of our military and the result is
suicide(s) and murder{s)-suicide(s). This is Federal Desensitizing Propaganda. Once a story like this comes
out it is not long before we have an epidemic. People become immune to stories like this.

! was part of the clinical trials for the vaccination as was the entire United States Air Force Academy
Cadet Wing (over 4000 cadets.) The vaccination took place in the fall of 1980 at the Air Force Academy.
The results were so severe that they had to shut down the Academy and quarantined the Cadet Wing for
three days. Ambulances were continually running to the hospital with sick cadets. We are talking about
18-24 young men and women who ore in excellent physical shape and have very strong immune systems.
An infectious doctor told me that if they gave that vaccine to the general population that 80% of them
would have died.

There's another bad virus going around that is not the flu
https://Awww.msn.com/en-us,
BBIt7b?li=BBmktSR&ocid=spartandhp

It looks like flu. It feels like flu. It even puts patients into the hospital like flu can.

There's another virus out there that could be adding to the seasonal misery, but it's not being identified.
The virus is called adenovirus, and it can cause very severe flu-like symptoms. It's So risky that the U.S.

military vaccinates recruits against two major strains.
But most people are not vaccinated against adenovirus, and doctor's offices don't test for it. Adriana

Kajon, Ph.D, wants that to change.

"Unless you look for it or you suspect it's circulating or you are using diagnostic testing capabilities that
can tell it apart, you are going to miss it, especially during flu season," said Kajon, an infectious disease
specialist at the Lovelace Respiratory Research Institute in Albuquerque.

"We are seeing severe adult infections,” Kajon told NBC News.

"That's a big deal, especially for a disease that by all means is vaccine preventable. But this vaccine is not
licensed to be used in civilians."

Adenovirus infections often look like the common cold, or influenza. They cause fever, headache, body
aches and sometimes but not always cough, stomach distress and breathing problems. Some strains
cause eye infections. There are 52 different strains.

-around-that-is-not-the-flu/ar-

   

 
 

i

Case 1:19-Cv-02399-RDM Document 6-1 Filed 08/12/19 Page 41 of 42

Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 nek Hy of 11

ttachment Z
Attachment 1

Kajon and colleagues collected details of adenovirus infections between 2011 and 2015 at colleges, in
nursing homes and elsewhere.

"On the basis of the severity of the clinical presentation of some cases in this study, the (adenovirus)
vaccine currently licensed for military use should be considered a potentially valuable resource to
prevent disease in susceptible populations living in closed communities, such as college settings,
summer camps, and long-term care facilities,” they wrote in a report published this week in the journal
Emerging Infectious Diseases.

An outbreak of adenovirus killed 10 people in 2007. Kajon's team tested college students at one campus
during the severe 2014-2015 influenza epidemic and found 13 out of 168 students who came in for flu
treatment had adenovirus infections.

Most patients may not suffer much, but the virus can cause very severe complications. Kajon and
colleagues described the case of a 43-year-old Rochester, New York woman, previously healthy, who
became infected in 2012 and quickly developed pneumonia and respiratory failure. During her hospital
stay sh brain fling and bleedi on a ventilator for more than amonth.

A year later, she was still out of breath if she exerted herself.

There was also the case of a 26-year-old Connecticut man infected in 2011 who had nausea, vomiting
and chills. He spent days in the hospital with adenovirus infection.

There have been outbreaks in long-term care faciltiies, also. But most clinics don't test for adenovirus
unless people are hospitalized with severe iliness that isn't helped by immediate treatment, Kajon said.
“These reports are probably the tip of the iceberg. We need more surveillance,” she said.

The Centers for Disease Control and Prevention keeps a log of reported cases of adenovirus.
“Outbreaks are more common in late winter, spring, and early summer but can occur throughout the
year," the CDC said.

There were so many outbreaks among new military recruits that the Department of Defense vaccinates

personnel against two of the more serious strains with an oral vaccine. Vaccination was stopped for a
few years in 1999 and outbreaks soared again, but there haven't been many since the vaccine was re-

introduced in 2011, the CDC said.

Kajon believes it should be more widely available,

"This is a vaccine ntable gi: * she said. "A life is a life. Losing a one to viral pneumoni
when know it hi n is hard."

in the U.S., however, that requires catching the interest of a company that might want to develop such a
vaccine commercially. “Unfortunately, it all comes down to the perception of having a market,” Kajon
said.

Adenovirus is not the killer that influenza is. Influenza dlls between 12,000 and 50,000 people a year in
the United States alone, and puts up to 700,000 in the hospital. A cocktail of other viruses, from
coronaviruses to rhinoviruses, also cause seasonal misery.

But Kajon said her studies show adenoviruse can be a significant part of the mix.

As with many viruses, there's not a good treatment for adenovirus, although the antiviral cidofovir has
helped some people with severe infections.

And adenoviruses are very hard to kill. Reports indicate they can survive on plastic and metal

surfaces— think countertops and hospital tabies— for a month. Some formulations of alcoho! and
chlorhexidine do not kill them tests have al chlorine does.

 

 

 
Case 1:19-cv-02399-RDM Document 6-1 Filed 08/12/19 Page 42 of 42
Case 1:19-gj-00048-BAH Document 11 Filed 08/06/19 Page 11 of 11

Attachment 1 ttachment Z

(Special) Grand Jury being used by Special Counsel Robert Mueller January 30", 2018
United States District Court for the District of Columbia
United States District Court for the Eastern District of Virginia

Jury Members,

Please review and save Mankind.

Godspeed.
Sincerely,

David Andrew Christenson

P.O. Box 9063

Miramar Beach, Florida 32550

504-715-3086, davidandrewchristenson@gmail.com, dchristenson6@hotmaii.com
